     Case 3:19-md-02913-WHO             Document 4362          Filed 01/10/25    Page 1 of 8



 1                                  UNITED STATES DISTRICT COURT
 2                               NORTHERN DISTRICT OF CALIFORNIA
 3

 4    IN RE: JUUL LABS, INC.,                           Case No. 19-md-02913-WHO
      MARKETING, SALES PRACTICES,
 5    AND PRODUCTS LIABILITY                            JOINT CASE MANAGEMENT
      LITIGATION,                                       CONFERENCE STATEMENT AND
 6                                                      PROPOSED AGENDA
 7
      This Document Relates to:
 8
      ALL ACTIONS
 9

10           Pursuant to Civil Local Rule 16-10(d), Plaintiffs’ Co-Lead Counsel as well as counsel to

11    the eleven personal injury plaintiffs who did not accept Plaintiffs’ settlement with JLI and/or Altria

12    (“litigating plaintiffs”), counsel to Defendant Juul Labs, Inc. (“JLI”), counsel to the JLI Settling

13    Defendants 1, counsel to the independent retailer Defendants, and counsel to Defendants Altria

14    Group, Inc., Philip Morris USA, Inc., Altria Client Services LLC, Altria Enterprises LLC, and

15    Altria Group Distribution Company (“Altria”), (collectively referred to herein as the “Parties”)

16    respectfully provide this Joint Case Management Statement in advance of the Further Case

17    Management Conference scheduled for January 14, 2025.

18    I.     PARTICIPANT INFORMATION
19           The January 14, 2025, CMC will proceed by Zoom. Anyone who wishes to attend the

20    conference     virtually    may      log     in       using   the    information     available     at:

21    https://www.cand.uscourts.gov/judges/orrick-william-h-who/.

22    II.    ISSUES TO BE DISCUSSED AND PROPOSED AGENDA
23           1.      Status of Case Filings and Dismissals

24           2.      Government Entity Settlements

25
      1
        Specifically the JLI Settling Defendants include: JUUL LABS, INC., previously d/b/a PAX
26    LABS, INC. and PLOOM INC.; JAMES MONSEES; ADAM BOWEN; NICHOLAS PRITZKER;
      HOYOUNG HUH; RIAZ VALANI; MOTHER MURPHY’S LABS, INC.; ALTERNATIVE
27    INGREDIENTS, INC.; TOBACCO TECHNOLOGY, INC.; eLIQUITECH, INC.; MCLANE
      COMPANY, INC.; EBY-BROWN COMPANY, LLC; CORE-MARK HOLDING COMPANY,
28    INC.; CHEVRON CORPORATION; CIRCLE K STORES INC.; SPEEDWAY LLC; 7-ELEVEN,
      INC.; WALMART; WALGREENS BOOTS ALLIANCE, INC.

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     Case 3:19-md-02913-WHO             Document 4362         Filed 01/10/25      Page 2 of 8



 1           3.        Litigating Plaintiffs

 2           4.        Class Settlement Administration

 3           5.        Tribal Cases

 4    III.   STATUS OF CASE FILINGS AND DISMISSALS
 5           1.        JLI

 6                a.      MDL

 7           As of January 10, 2025, JLI and JLI Settling Defendants have settled claims with 5,023 2

 8    plaintiffs (3,499 personal injury plaintiffs, 1,492 government entities, and 32 tribes (“Settling

 9    Plaintiffs”)) in this MDL. The settlement agreement requires Settling Plaintiffs to voluntarily

10    dismiss their claims with prejudice against JLI and JLI Settling Defendants. Most Settling Plaintiffs

11    have done so.

12           As of January 10, 2025, 9 minor Personal Injury Settling Plaintiffs have not dismissed their

13    claims with prejudice and have deferred filing voluntary dismissals due to their minor status, which

14    requires court approval of settlement amounts. A list of these plaintiffs is attached hereto as Exhibit

15    A. These cases will be dismissed upon the completion of minor settlement processes, including

16    approval of agreed-upon allocations by Hon. Gail A. Andler under Case Management Order No.

17    20. Four Personal Injury Settling Plaintiffs previously identified as minors who deferred filing of

18    voluntary dismissals due to their minor status have now reached the age of majority and must

19    voluntarily dismiss their claims. A list of these plaintiffs is attached hereto as Exhibit B.

20           In addition, JLI has identified approximately 111 plaintiffs in this MDL who continue to

21    have active cases against JLI and (in some cases) JLI Settling Defendants. JLI is coordinating with

22    the Settlement Administrator, BrownGreer, to determine the status of these plaintiffs’ claims and

23    intends to file a motion to dismiss these claims as appropriate under the settlement and this Court’s

24    Case Management Orders.

25                b.      JCCP

26           As of August 7, 2024, 15 cases are pending in the JCCP against JLI and some of the JLI

27
      2
        The numbers in this Statement reflect the Parties’ good-faith estimates based on reasonably
28    available information. The Parties will continue to work together to align their data and resolve any
      inconsistencies.
                                                       -2-
     Case 3:19-md-02913-WHO              Document 4362       Filed 01/10/25     Page 3 of 8



 1    Settling Defendants. Six (6) minor Settling Personal Injury plaintiffs have deferred filing of

 2    Requests for Dismissal pending approval of agreed-upon allocations by Hon. Gail A. Andler under

 3    Case Management Order No. 18. Nine (9) Personal Injury Plaintiffs did not accept the settlement

 4    and continue to litigate their claims. 3

 5            2.      Altria

 6            As announced on May 10, 2023 during the SFUSD trial, Plaintiffs and Altria reached an

 7    agreement that created settlement programs to resolve the class, personal injury, and government

 8    entity cases as to Altria.

 9            The Court granted final approval of the class settlement on March 14, 2024. ECF No. 4212.

10    Altria funded the class settlement on May 13, 2024, and administration of the Altria class settlement

11    is discussed further in Section VI, infra.

12            Altria also funded the personal injury and government entity settlements on May 13, 2024.

13    The parties to the personal injury settlement have been implementing the settlement, including by

14    dismissing with prejudice claims of personal injury plaintiffs who have not opted out pursuant to

15    the terms of the personal injury settlement and Case Management Orders 18 and 19. ECF Nos.

16    4274, 4313, 4351, 4360. The personal injury plaintiffs who did not accept the personal injury

17    settlement are discussed in Section V, infra.

18            With respect to the government entity settlement, all of the eligible government entities are

19    participating in the settlement. The Court has dismissed with prejudice all of the government entity

20    cases. ECF No. 4351.

21            In addition to the class, personal injury, and government entity settlements, on

22    June 17, 2024, Altria and Plaintiffs’ Tribal Subcommittee on behalf of certain federally

23    recognized sovereign Settling Native American Tribal Plaintiffs entered into the Tribal Plaintiff

24    Settlement Agreement. The parties participating in the Tribal Plaintiff Settlement Agreement

25    have been proceeding with implementation of the settlement pursuant to the Tribal Plaintiff

26    Settlement Agreement and Case Management Orders 22 and 23, and the Court has dismissed with

27
      3
       One Government Entity, the City of Baltimore, Mayor and City Council of Baltimore v. Juul
28    Labs, Inc., 20STCV21633, opted out of the settlement with JLI. JLI and the City negotiated and
      executed a settlement agreement, and the City dismissed its claims on August 28, 2024.
                                                      -3-
     Case 3:19-md-02913-WHO            Document 4362         Filed 01/10/25      Page 4 of 8



 1    prejudice the claims of the participating Tribal Plaintiffs. ECF No. 4342.

 2    IV.      GOVERNMENT ENTITY SETTLEMENTS
 3             1.     JLI

 4             At the October 30, 2024, case management conference, the Court requested an update on

 5    the use of government entity settlement funds. On December 6, 2024, Co-Lead Counsel filed a

 6    Status Report on Settlement Implementation, providing the requested update. Co-Lead Counsel

 7    are available to answer any questions the Court has or provide any additional information.

 8    V.       LITIGATING PLAINTIFFS
 9             Eleven personal-injury plaintiffs in the MDL did not accept the settlement among JLI, the

10    JLI Settling Defendants, and Plaintiffs and the settlement between Altria and Plaintiffs. Ten

11    plaintiffs are represented by the Schlesinger firm (the “Schlesinger Litigating Plaintiffs”) and one

12    is represented by TorHoerman law—Jay Patel, Jay Patel et al. v. Juul Labs, Inc. et al., 3:20-cv-

13    06985.

14          1. The Schlesinger Litigating Plaintiffs

15             The Additional Discovery period contemplated in Case Management Order (“CMO”) Nos.

16    17 and 19 is proceeding under the Scheduling Orders that this Court entered on July 16, 2024 (ECF

17    No. 4278; McKnight v. Juul Labs, Inc., et al., 3:20-cv-2600, ECF No. 45). That period has been

18    extended by Order of this Court based on delays that have been encountered in discovery, and the

19    Additional Discovery period is currently set to end on January 30, 2025 (ECF No. 4354).

20             The Parties have made significant progress. As of January 10, JLI has served Requests for

21    Production and Interrogatories. Defendants have deposed 30 individuals associated with MDL

22    Plaintiffs, and 33 associated with JCCP Plaintiffs. And the McKnight preservation deposition

23    concluded on December 10, 2024.

24             Much remains to be done during the Additional Discovery period. There are about 30

25    depositions scheduled or awaiting confirmation. Fourteen of those depositions are of plaintiffs.

26    And multiple depositions of plaintiffs have begun but have not yet concluded. To accommodate

27    these depositions, the Parties anticipate seeking a further extension of the Additional Discovery

28    period, are negotiating that extension, and will notify the Court if the Court’s assistance is needed.

                                                       -4-
     Case 3:19-md-02913-WHO            Document 4362          Filed 01/10/25    Page 5 of 8



 1           Defendants’ Position

 2           At the close of the Additional Discovery period, Defendants anticipate filing summary-

 3    judgment motions as permitted by CMO 17 and the current scheduling order. CMO 17 at 31, ECF

 4    No. 3780; ECF No. 4278 at 2. Defendants request that the Court order state-court remand briefing

 5    in the McKnight, Fay, and Shapiro cases to occur alongside summary-judgment motions after the

 6    Additional Discovery period. (Defendants have not yet deposed Plaintiffs in the latter two cases.)

 7    See, e.g., Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1068 (9th Cir. 2001) (when resolving

 8    “[f]raudulent joinder claims” the court may “consider[] summary judgment-type evidence such as

 9    affidavits and deposition testimony”). Finally, Defendants request that—as needed after ruling on

10    the motions—the Court set a conference to schedule full fact and expert discovery.

11           Plaintiffs’ Position

12           Plaintiffs respectfully request the Court to set a hearing on the pending motions to remand

13    in the matters of: 1) Kaitlyn Fay, Case No. 3:19-cv-07934; 2) Walker McKnight, Case No. 3:20-

14    cv-02600; and Ben Shapiro, Case No. 3:19-cv-07428. In each of these cases, as detailed in the

15    respective motions, the plaintiff sued non-diverse defendants. Because complete diversity is

16    lacking, the Court lacks subject matter jurisdiction.

17           At the status conference of May 29, 2024, the Court addressed the issue of when to decide

18    the three motions to remand to state court. See Hrg Tr. 4:21-24. There, the Court expressed it was

19    inclined to deal with the remand motions rather than wait until later. This comports with the JPML’s

20    guidance, which emphasizes a plaintiff’s right to prompt rulings on motions for remand. See In re

21    Aqueous Film-Forming Foams Prod. Liab. Litig., 669 F. Supp. 3d 1375, 1379 (U.S. Jud. Pan. Mult.

22    Lit. 2023). While the Court’s intention to “get an order out with respect to remand” (Id. at 10:15-

23    16), to date, no such order has been entered. Accordingly, Plaintiffs respectfully seeks entry of an

24    order outlining a briefing schedule and setting a hearing for the parties to respond to Plaintiffs’

25    pending motions for remand.

26       2. Patel

27           Mr. Patel remains in the initial production phase contemplated by CMO Nos. 17 and 19.

28    JLI and counsel for Mr. Patel met and conferred in the fall of 2023 regarding the deficiencies in

                                                      -5-
     Case 3:19-md-02913-WHO            Document 4362         Filed 01/10/25      Page 6 of 8



 1    Mr. Patel’s initial productions under CMO No. 17, at which time JLI agreed to stay any further

 2    action and afford Mr. Patel time to remedy the deficiencies in his production and complete initial

 3    productions. Altria and counsel for Mr. Patel have also met and conferred concerning Mr. Patel’s

 4    obligations under CMO No. 19. As of January 10, 2025, Mr. Patel’s case remains stayed. JLI,

 5    Altria, and Mr. Patel are coordinating to confirm Mr. Patel’s final compliance with his initial

 6    discovery obligations under CMO Nos. 17 and 19.

 7    VI.    CLASS SETTLEMENT ADMINISTRATION
 8           On October 8, 2024 the Court approved the distribution of funds from the JLI and Altria

 9    Class Action Settlements, with holdback amounts for costs, taxes, and disputed claims, ECF No.

10    4326, and Epiq began distributing funds in October. Claimants were allowed to submit disputes

11    through December 31, 2024, and Epiq’s review of the disputes is ongoing. Epiq and Class Counsel

12    anticipate that distributions resulting from successful disputes will occur within the next one to two

13    months. The current deadline to file a post-distribution accounting is April 30, 2025, and hearing

14    to discuss the post-distribution accounting set for May 6, 2025. ECF No. 4318. Finally, settlement

15    administration costs exceeded the Court’s pre-approved amount in October, and Class Counsel

16    submitted those invoices, which the Court approved, ECF No. 4350. Class Counsel will

17    periodically submit documentation for additional administration costs for the Court’s review.

18    VII.   JLI TRIBAL CASES
19           Three tribal plaintiffs—the Choctaw Nation of Oklahoma, the Chickasaw Nation, and the

20    Muscogee (Creek) Nation (the “JLI Litigating Tribes”)—filed their claims after the tribal settlement

21    cutoff date of October 21, 2022, as contemplated by the Case Management Order No. 16.

22    Accordingly, the JLI Litigating Tribes are subject to the discovery and procedures contemplated by

23    CMO No. 17.

24           The JLI Litigating Tribes have completed their initial productions as contemplated by CMO

25    No. 17. On January 11, 2024, the JLI Litigating Tribes, JLI, and the JLI Settling Defendants

26    participated in one single mediation conducted by Settlement Master Perrelli. Mediation has been

27    recessed to allow JLI and the JLI Litigating Tribes to continue to exchange information and discuss

28    possible resolution.

                                                      -6-
     Case 3:19-md-02913-WHO             Document 4362        Filed 01/10/25     Page 7 of 8



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                                                       -7-
     Case 3:19-md-02913-WHO         Document 4362         Filed 01/10/25    Page 8 of 8



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